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                         .    EXHIBIT   ~
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                                                                      ARDENFORENSJCS
----------Jo\,r-den-For-ensk:s,P---fi--------------------Jonathan.L.. Arden,MD-
         ...... 33?. Las Olas Way, #1_104     7_03.749.0227_Office                                   President
                Fort Lauderdale, FL 33301     703.563.6059 Fax

                j1ardenmd@ardenforensics:c:om-----------
                www.ardenforensjcs com

                28 February 2025

                Dr. David P. Weber, Esq.
-----Go-oawrn Weoe(PLcc-- -
                11115 Lake View Ln., #1698
                Berlin, MD 21811

                                          . Supplemental Report of Consultation
                                Re: Erin Smith (Estate of Jeffrey Smith) v. Dr. David Kaufman
                                 (US District Court, District of Columbia. No. 1:21-CV-2170)

                Dear Dr. Weber:

                Introduction and Qualifications

                I have prepared this expert witness report in accordance with the Federal Rules of Civil
                Procedure, Rule 26(a)(2)(B).

____________________.You have asked me.to provide consultation in the field of forensic pathology, which I have
                      practiced for 40 years. After receiving my MD degree from the University of Michigan in
----_,1980~1 completedtraining in anatomic pathologyaCthe-NewYorlfUniversity Medical
                      Center (1980-1983) and in forensic pathology at the Office of the Chief Medical Examiner
                      for the State of Maryland (1983-1984). I have been certified in both anatomic and forensic
                      pathology by the American Board of Pathology since 1985. I am currently licensed to
                      practice medicine in five states. I spent the first 20 years of my career as a government-
                      employed medical examiner, including nine years with the Office of Chief Medical
                      Examiner for the City of New York where I finished as First Deputy Chief Medical
                      Examiner, and more than five years as the Chief Medical Examiner of Washington, DC.
                      I am currently president of Arden Forensics, PA, a consulting practice in forensic
                      pathology and medicine, and I hold a part-time appointment as a Forensic Pathologist in
                      the Office of the Chief Medical Examiner for the State of West Virginia. My full curriculum
-- ------ - ---------vitae,--including list of publications, is attached.---------- -

                I have testified as an expert witness more than 900 times in various state and federal
                courts, depositions, grand juries, and hearings. A log of my testimonial appearances for
                the past four years is attached.
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               Re: Estate of Jeffrey Smith v. Kaufman, Supplemental Report of Dr. Arden, 2/28/2025


               My fees for this matter are $650.00 per hour for review of materials and consultation, and
               $6,500.00 per day for court testimony. My full fee schedule is attached. My fees are not
               contingent upon the outcome of any case in which I consult.

               Materra1s· Reviewed

               I have previou_sly submitted a _Declaration of 8/13/2021 concerning the death of Jeffrey
               Smith, in the matter of Erin Smith, Petitioner, to the Government of the District of Columbia
               Police and Firefighters' Retirement and Relief Board, Case No. PD21-1045. That
               Declaration is attached hereto, and is incorporated herein in its entirety by reference.

               Since tnarDeclarat1on was submrttea,I have recently been provided and reviewed:
                  • The report of a psychological autopsy of Jeffrey Smith authored by Ally Epstein,
                      Psy.D. and Alexander Sasha Bardey, MD., 2/21/2025
                  • Forensic Video Analysis Report of Grant Fredericks, with attached Synchronized
                    . Tracking of videos, 7 /6/2022_ . _ ___ _____ . _ . . __ ___ ___ __ _ ... .. __ .________ _

               I have _also reJied upon my educatic;m, training, knowledge and experience as a physician,
               forensic pathologist, and a medical examiner.·

               Analysis and Opinions

               This report supplements the analyses and opinions expressed in the Declaration of
               8/13/2021, including incorporation of the data and opinions contained in the newly
               reviewed materials listed above.

---'-----'---_...... he_psycbologicaLautopsy_estab.lisb.ed._.thaLbotb...Jbe_psychologicaLtrauma_ancL.tbe ______ _
               physical injuries that Jeffrey Smith incurred on January 6, 2021 caused his behavioral
               changes that culminated in his death by suicide.

                The video analysis demonstrated that Defendant Kaufman struck Jeffrey Smith with his
                own baton inside the face shield of his helmet, causing his helmet to move rapidly and to
                raise the face shield of the helmet, and then struck Jeffrey Smith a second time with the
                baton, moving Jeffrey Smith backward from the impact.

                   As previously stated in my Declaration, it is my opinion, to a reasonable medical certainty,
                   that the trauma incurred in the events of January 6, 2021 was the direct cause of the
                   depression and behavioral changes that resulted in the death by suicide of Jeffrey Smith.
  ---- -        - -That trauma includes both the psychological and physical trauma caused by Defendant -
----------- --------Kaufman when he-attacked Jeffrey Smith with his own baton:--=fhe first impact of the-baton----------------·-
                   was demonstrated to have shifted the helmet and raised the face shield of the helmet,
                   showing application of blunt force to the head of Jeffrey Smith. It is more likely than not
                   that the two strikes of Jeffrey Smith with the baton by Defendant Kaufman impacted
                   and/or- applied forces to theface/head of Jeffrey Smith;-- In addition, as· was noted by the-.:.
          . - - psychological autopsy,-Jeffrey Smith sustained psychological trauma in the chaotic battle
_ _ _ _ _d_u_ring the storming of the Capitol Building, which included psy~~~~og_i_c_al_ tr~~~a inflicte_~--- ____ _

                                                                  2
                Case 1:21-cv-02170-ACR                          Document 93-13                    Filed 05/26/25               Page 4 of 21


           Re: Estate of Jeffrey Smith v. Kaufman, Supplemental Report of Dr. Arden, 2/28/2025


           by Defendant Kaufman when he attacked Jeffrey Smith. In summary, the trauma, both
           physical and psychological, inflicted on Jefrey Smith by Defendant Kaufman was a
           substantial causal factor to the death of Jeffrey Smith.

      -·-·An opinions in this re·port are expressed with reas6n-ab1e·mearcal certaintf- 1-reserve the
      • -~-right fo - amend any· sfatements or opinions if.presented with -additicfrial significant
         "information, as well as th_e right to r~but opir,ions ~xpressed within my areas of expertise. _- _

           Yours truly,
           Arden Forensics, PA


            7rr~~
          By: Jonathan L. Arden, MD, FCAP
_______________President__ _ ___________ ______ ___ _______ __ _____ ___ ________ ______ _______ ______ ____ _ _ _____________________________________ .________________ .. __

            att.




        ----------·- - - - - - - -




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                                   GOVERN1v.1ENT OF THE DISTRICT OF COLUMBIA
                                    Police and Firefighters' Retirement and Relief Board

            In the matter of:.-----------------tJ:E:-Metropolitan -P-olice Departtrren
                                                      Case No. PD21~1045
            ERIN SMITH
            Petitioner .                                           Survivor Annuitant

                                    DECLARATION OF DR JONATHAN L. ARDEN

                      CO:MES NOW your Affiant, Jonathan L. Arden, and states upon his personal knowledge,

            information and belief:

                      1.     I am over the age of 18 and I am competent to testify on the matters contained

            herein.

                      2.     I am a licensed medical doctor and have practiced in the field of forensic pathology

            for over 35 years. I am the former Chief Medical Examiner of the District of Columbia. A copy of

            my CV is attached hereto.

                      3.     I was retained to render an expert opinion on the manner and cause of death of

--------'Jeffrey L. Smith=.'-----

                      4.     In connection with this matter, I have reviewed thefol..-Io-wm~g-:___________ • ---••-·-

                a) The Report oflnvestigation, and the Report of Autopsy with diagrams (signed March 18,

                      2021) for Jeffrey Louis Smith, from the Virginia Office of the Chief Medical Examiner.

                b) Certificate of Analysis (i.e., Toxicology Report) for Jeffrey Smith from the Virginia

                      Department of Forensic Sciences, dated 2/10 2021.

                c) Autopsy photographs.

                d) Autopsy radiograph.

                e) Certificate of Death, dated 1/19/2021.

                e) The Forensic Medical Report of Dr. Patrick J. Sheehan, dated July 12, 2021.
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              f) The US Park Police crash report.

              g) Police and Fire Clinic records for Jeffrey Smith.

             -h) Vide-o -of the -everit when Officer Smith wai fujiired, with screeri>-capture images.
                          -                 ·-




                   5.         . I hold thefollowing opinions to a reasopable degree of rnedical certainty:

                   a) I agree with the Medical Examiner's opinion that the direct cause of Jeffrey Smith's

                         death was a single tight contact gunshot wound to the head that resulted in a mortal brain

                         injury.

                   b) I agree with Dr. Sheehan's opinion that trauma of January 6, 2021 led to depression

                        - which, in tum caused Jeffrey Smith's death. There is a direct cause and effect

                         relationship between the line of duty work trauma on January 6, '.2021 and Jeffrey

                         Smith's death on January 15, 2021.

                   c) The social history reports from Erin Smith, together with the decedent's friends and

                         family, strongly support Dr. Sheehan's finding that Jeffrey Smith's suicide was

 --------=caused by_the events of January 6, 2021. The repprt_contains detailed information a=-s_ _ _ __

                         to the traumatic events of January o,Z02T-(as Jeffrey Smith described them to others).

                         Jeffrey Smith had no prior history of depression, mental health issues or mental health

                         treatment. There is no evidence· of any other intervening or superseding trauma

                         (between January 6, 2021 and January 15, 2021) that could have led to the suicide.

                         What is particularly compelling in this case is that there was a dramatic change in

                     . -Jeffrey Smith's mood and behavior after the January 6, 2021 riots. In my experience
       - - - - - - - - - - - - - - - -· - - - -

                         as a forensic pathologist, it is not uncommon to see a suicide in an individual with no

                         prior history of mental health issues which is brought on by an acute trigger (like a

                         _death, domestic issue or other physical trauma). As detailed by Dr. Sheehan,.there is
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                        hard and reliable evidence that Jeffrey Smith changed after the physical and

                        emotional trauma he experience on January 6, 2021 as he became withdrawn and

                       -upseL These facts,t6gethei witli-the timing of the -sufofde (riine days after the trauma)
                                                                                                 ~   ~   ~-   -   -- ···-


                       . strongly supports _causality. ~,

                     d) The video of the event demonstrates that Officer Smith was struck in the face and

                        head while his face shield was up. In the Injury or Illness Report that he filed,

                        Officer Smith reported pain in his "neck and face," corroborating that he was struck

                        in the face. As a direct result if being struck in the face and head, Officer Smith was

                        stunned and fell. The loss of consciousness resulting from the blow indicates that he

                        suffered a concussion. The symptoms that he manifested after being injured- in the

                        riot and leading up to his suicide, including anxiety and depression, represented post-

                        concussion syndrome. •Therefore, his mood changes were the direct result of the head

                        trauma he suffered in the riot on January 6, 2021.

-----'--------'e) The acute,precipitating_ event that caused the death of Officer Smith was h=is,,,___-----'~-----

                        occupat10nal exposure to the traumatic events (mcludmg sustammg a concussion

                        with post-concussive syndrome) that he suffered on January 6, 2021, in connection

                        with his duties as a Metropolitan Police Officer of the District of Columbia.

              I DO SOLEJvfNLY SWEAR OR AFFIRM THAT THE FOREGOING IS TRUE THE BEST OF
              MY KNOWLEDGE, INFORMATION AND BELIEF.


                                     . . /'kL L>
                                    -------r  -~" ------ ------------------ -
                                                            J/J

                                              JONATHAN L. ARDEN, M.D.

                                              DATK8/13/2021-~--
                       Case 1:21-cv-02170-ACR                           Document 93-13           Filed 05/26/25       Page 8 of 21




                   333 Las Olas Way #1104
                                                                                             ABDE NFDRENSICS
                                                                                                                 Jonathan L. Arden, MD
                   Fort Lauderdale, FL 33301
                                                                                                                             President
                   703.749.0227 Office
                   703.563.6059 Fax
                   jlarctenmct@aro-enf-,.o-r-en-si~cs-.c-om
                                                          _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   www ardenforensics com -• -

------Curriculum-vitae-of- Jonathan-b-Arden.,M• - - - - - - - - - - - - - - - - - - - · - · - - - - - - - - · - - · - - -

                   Employment

                   May 2022  Forensic Pathologist (Locum Tenens)
                             National Autopsy Assay Group
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _S_a_n_D_iegQ, _C_A_________ ___ -----·----·- -•-------·- . _

                   5/08-Present                           Forensic Pathologist (Part-time)
                                                          Office of the Chief Medical Examiner
                                                          State of West Virginia

                   1/06-Present                           President, Arden Forensics -

                   3/04-Present                           Consultant in Forensic Pathology and Medicine

                   12/03- 7/05                            Medical Examiner, Northern Virginia Region (Part-time)

                     4/98-10/03                           Chief Medical Examiner
                                                          Office of the Chief Medical Examiner
                                                          Washington, DC

                     3/89-4/98
                             Office of Chief Medical Examiner, City of New York
                        _. _ New York, NY
          7/96-4/98:         First Deputy Chief Medical Examiner
_________ 7/91::.7L96·_____ Acting first Deputy Chief Medical Examiner.___________ -------· ·-- ___
          8/89-6/91:         Deputy Chief Medical Examiner
          3189=-?/89-.--E)ep □ty-Medical··Examine~-------------

                     2/86-2/89                             Assistant Medical Examiner
                                                           Office of the Chief Medical Examiner, State of Delaware

                     7/84-2/86                             Deputy Medical Examiner-Pathologist
                                                           Office of the Medical Examiner
                                                           Suffolk County, New York

                    Graduate Medical Training

                   7/83-6/84                              Resident in Forensic Pathology
                                                          9ffiqe of the Chief Medical E~aminer, State of Maryland _
                              --·---· - • --------- - - ----
                    7/80-6/83                              Resident in Anatomic Pathology
                                                           New York University Medical Center


     __________________ Education __ :_

                   University of Michigan Medical School: MD, 1980 ••
                   University of Michigan: BS with High Distinction, 1976
                   The Johns Hopkins University, 1972-1974


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                 Curriculum vitae of Jonathan L. Arden, MD                                                 January 2025


                 Medical Licensure

                 New York                             1982
                 Delaware                             1986-2001; 2005-2017
                 District of Columbia                 1998-2006
                -Virg1n1a ___ -                    --·2003--
                ·Maiylana                             2005
                 West Virginia                        2008
                 Florida ,c- -                        2020
                 California                           May 2022 - February 2023 (Temporary Emergency License)

                 Board Certification

                 1985-0iplomate-,-AmericanBoard-of Pathology-;-Anatomic-and-Forensic-Patholog,1-----------------

                 Professional Memberships

                    College of American Pathologists (CAP)
                    Florida Medical Society
           --- - - ·corisort11i11-_of Faren-sic Scie-nce-C:frgariizationi-(CFSO), 2020~2021 ··--- -
                               Board of Directors representing NAME, 2020-2021
                             - Secretary, 2020-2021
                    National Association of Medical Examiners (NAME), 1987-2021
                               Chair of the Board of Directors, 2020
                               President, 2019
                               Vice President, 2018
                               Board of Directors, 2002-2008, 2018-2020
                               ExecutiV.e Committee, 2006-2008, 2018-2020
                     Medical Society of Virginia (2004-2021)
                    Medical Society of the District of Columbia, 1998-2003

                 Academic Appointments

-----~Clio.i.c.aLAs_s.is_tanter:.ofe_s_sornte.atb.oJ.o_g~_G_e_oJg_e_Wasbingtoo_Uo.i~er:.sity'._Scbo.oLotM.e_dicio.e.~9_9-8.=20_0_3'--------
                   Clinical Assistant Professor of Pathology, State University of New York Health Sciences Center at
                                 Brooklyn, 1989-1998
                   Clinical Assistant Professor of Forensic Medicine, New York University School of Medicine, 1989-1998

                  Selected Professional Activities

                          Editorial Board, Academic Forensic Pathology, appointed 2017-2021
                          Special Guest Editor, Academic Forensic Pathology, Volume Six, Issue One, March 2016, "Postmortem
                                    Changes"                                                •
                          Subject matter expert (representing National Association of Medical Examiners and working with RTI
                                    International) to develop web-based training program in forensic science, 2010-2011
                          Identification of the Missing focus group of the National Center for Forensic Science, National Institute of
                                  --Justice (representing National Association of Medical Examiners), 2006-2007
------------ - - -Chair,-Un iform Definitions and Standards Work Group, -Center for-Substance Abuse and Treatment's --- ----- ---- --- -
                                    Project on Co-Occurring Disorders and Other Emerging Issues in Opioid Treatment, Substance
                                    Abuse and Mental Health Services Administration, US DHHS (representing National Association
                                    of Medical Examiners), 2004-2005
                          Environmental Clearance Committee for the Curseen-Morris Postal Facility (co-sponsored by US
        ------------------ -- -_ ~.:Environmental Protection Agency and bCDepartment of Health); 2003          -     -     - ---


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                     Curriculum vitae of Jonathan L. Arden, MD                                            January 2025


                     Government of the District of Columbia:
                               Child Fatality Review Committee, 1998-2003
                               Mental Retardation and Developmental Disabilities Administration
                                    Fatality Review Committee, Chair, 2000-2003
                               Emergency Preparedness Task Force and Emergency Preparedness Committee, 2001-2003
                               Mayor's Health Poficy Council,-f998:.2ob_3 _  ••   - • • • •• - • • • • • • • •• --· •• - - •
                 • Metropolitan Washington Council of Governments; "Bio-terrorism Task Force; 2001-2003
                   Medical Society of the District of Columbia, Family Violence Task Force, 2000-2003
                   National Association of Medical Examiners, Interim Meeting, Program Chair, February 1997
                   New York State Commission on Domestic Violence Fatalities, 1996-1997
                   American Board of Pathology, Forensic Pathology Test Committee, 1992-1997
                   City of New York, Administration for Children's Services/Human Resources Administration, Child Fatality
                            Review Panel, 1989-1998
                   Gity-of-New-York-;-Griminah.Justice-Ghild--Abuse-T-ask-Force-;-1996--1-998-----------------
                   New York City Multidisciplinary Child Fatality Review Team, Project Director, 1995-1998
                   Physician Assistant Program, The Brooklyn Hospital-Long Island University, Pathology Course Director,
                            1991-1997

                     Selected Continuing Medical and Other Education ___         ___ _

                     National Association of Medical Examiners, Annual and Interim Meetings (attended almost all for more
                        than 20 years) -

                     Fourth Annual Prescriptions for Criminal Justice Forensics, Fordham University School of Law, June 7,
                        2013

                     26 th Annual Forensic Anthropology Course, Maryland Office of Chief Medical Examiner, June 3-6, 2013

                     43ro Annual Forensic Dental Identification and Emerging Technologies Course of the Armed Forces
                         Institute of Pathology, March 12-16, 2007

            22nd Annual Washington Neuroradiology Course of the Armed Forces Institute of Pathology, February 17-
- - - - - - 1 a,-200       •       •                                               •

                     15th Annual Anatomic Pathology Review Course of the Armed Forces Institute of Pathology, April 17-23,
                         2005

                     Selected Lectures and Presentations

                     "Forensics - Anatomy of a Homicide, Corpses and Causes of Death: Forensic Pathology in the Criminal
                     Courts," Florida Association of Criminal Defense Lawyers (FACDL) 35 th Annual Meeting, Fort Lauderdale,
                     FL, July 14, 2022.

                     "Forensic Pathology in the Criminal Courts: Understanding and Evaluating Injuries," Vermont Defender
                        General Seminar, June 18, 2021

                  "Anatomy of a Homicide; Corpses and Causes of Death, Forensic Pathology in the Criminal Courts,"
-- ------·----------- guest lecturer;-The George-Washington University Law School, ·Washington, -DC,-March-22,-2021 -----------------

                     "Medical Examiner/Coroner Workforce Shortages and Pipeline," National Opioid and Emerging Drug
                       Threats Policy and Practice Forum, National Institute of Justice, Washington, DC, July 18, 2019

           ----··-
                     0
                         Anatomy "of a Homicfde:Corpses· and Cause-s of beath; Forensic Pathology°iri fhe Criminal Courts/
                          _guest lecturer, The George Washington University Law School, Washington, DC, March 29, 2019

          ---'!It-Walks Like a·-Duck,Quackslikea-Duck-But-it's a Horse:-The-Process of Second-Opinion Gonsultation,-:----------:------
_ _ _ _ _ _ _ _ln_d_e~p_e_n_d_en_t_D_i~agnosis of an Unusual Presentation of a Rare Disease Process, and Truth-seeking by______

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                 Curriculum vitae of Jonathan L. Arden, MD                                                 January 2025


                        Experts in an Adversarial System," E. Matshes and J.L. Arden (presenting author), presented at the
                        National Association of Medical Examiners Annual Meeting, October 2018

                 "Medicolegal Consulting/Private Practice Forensics Workshop," J. Melinek, K. Sperry, J.L. Arden, et al.,
                    Moderator of Panel Discussion, presented at the National Association of Medical Examiners Annual
                   -Meeffng, October· 2018 - - . - - . - - . .    - - ..  - . -- -- - . -   - - ..      . - - ....... - -
                         -- --- ---   -      - --



                 "High-Profile Deaths: Experiences and Lessons," presented at the World Association for Medical Law
                    Annual World Congress, Los Angeles, CA, August 10, 2016 •                     _-     - -- ,.

        "Postmortem Changes and Time of Death," 'The Forensic Postmortem Exam," "Death Investigation -
           Standards and Best Practices," "Writing the Death Certificate/' presented at the West Virginia Office of
           the Chief Medical Examiner 2014 Forensic Death Investigation Training Course, Sutton, WV, March
-------'1-7--1·9~201.ll--------------------------------
                 11
                      Anatomy of a Homicide; Corpses and Causes of Death, Forensic Pathology in the Criminal Courts,"
                        guest lecturer, The George Washington University Law School, Washington, DC, February 3, 2014

                  "Anatomy of a Homicide; Corpses and Causes of Death, Forensic Pathology in the Criminal Courts,"
                ---- - g"i.iest lticiurer,-the-George-Wash1ngton Lfnfverstty La~/S-chocii;·Washfngtori;·Dc,-Fe6ru·ary 4,--2013. ---

                 -"Postmortem Changes and Time of Death," "Sudden Natural Deaths," "Environmental Deaths," "Drugs &
                    • Alcohol Deaths," "Immersion Deaths," "Fire/Thermal Deaths," "Sharp/Blunt Injuries," "Asphyxia,"
                      "Transportation-Related Deaths," "Early Childhood Deaths," "Completing the Death Certificate/Writing
                      Death Investigation Reports." presented at the West Virginia Office of the Chief Medical Examiner
                      2012 Forensic Death Investigation Training Course, Charleston, WV, October 22-24, 2012

                  "The Analyst at the Morgue - Helping Families Deal with Traumatic Bereavement," presented at the
                     American Psychoanalytic Association Community Symposium, co-presentation with Bruce Sklarew,
                     MD, June 15, 2012

            "Forensic Pathology in the Criminal Courts: Advances, New Issues, Common Mistakes and Pitfalls (and
-------May6eMore)~wpreseritation toth·eJUagesof the-Drsfffct ofColumbfaSuperforCourt~Marcti'-28; 2012-------

                  "Anatomy of a Homicide; Corpses and Causes of Death, Forensic Pathology in the Criminal Courts,"
                     guest lecturer, The George Washington University Law School, Washington, DC, January 30, 2012

                      "Postmortem Changes and Time of Death," "Sudden Natural Deaths," "Forensic Pathology I and II,"
                        "Early Childhood Deaths," "Writing Death Investigation Reports." presented at the West Virginia Office
                        of the Chief Medical Examiner 2011 Forensic Death Investigation Training Course, Sutton, WV,
                        October 24-26, 2011

                  "Sudden Unexplained Infant Death," authored and presented web-based training course in conjunction
                     with RTI International, March-April 2011

                   "Postmortem Changes and Time of Death," "Sudden Natural Deaths," presented at the West Virginia
                       Office of the Chief Medical Examiner 2010 Forensic Death Investigation Training Course, Sutton, WV,
------ - ----- -- --- ·October 25-;--2010 ---- -· · · ··------------------ ----- - ----- ·-------------•·----------- •-•- - -

                  "Postmortem Changes and Time of Death," "Sudden Natural Deaths," and "Investigation of Early
                      Childhood Deaths," presented at the West Virginia Office of the Chief Medical Examiner 2009 Forensic
                   __ Dec;1th_tnvestigation T_~ain_ing Cow~~. Sutton, WV, Octoq§3r_5~~. ~009

                  "Death Investigation," presented at the South Carolina Coroner's Association 2009 Training Conference,
                     Litchfield Beach, SC, June 10, 2009




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               Curriculum vitae of Jonathan L. Arden, MD                                              January 2025


              "Forensic Pathology," presented at the Fifth National Seminar on Forensic Evidence and the Criminal
                 Law, Philadelphia, PA, January 9, 2009

              "The Role of the Forensic Pathologist in Homicide and Capital Defense," lecture given at the Yale Law
                 ?~h~<?I Capital P!.!ni~~ment Clin_ic, New_ ~a_v_e_n,_ 9T, DeceIT1ber_9_, 200~ ..

               "Fatal Dissection and Rupture of a Coronary Artery Bypass Vein-Graft: Implications for ME Jurisdiction
                   and Practice," presented at the National Association of Medical Examiners Annual Meeting, October
                  ·2008 -           -
                                    ~                       -  ·.. -·                --   -- "                  -- -

               "Recognition and Interpretation of Child Abuse Injuries," Annual Meeting, Virginia Association of
                  Orthopaedic Technologists, Mclean, VA, March 31, 2007

-----~"-1-'Pitfalls-·in-the-Practice-of Forensic-Pathology-f-Forensic-Grand-Rounds-,-6ommonwealth-of-----------
                    Massachusetts Office of the Chief Medical Examiner and Boston University School of Medicine,
                    November 1, 2006

               "The Role of the Forensic Pathologist in Homicide Defense," Seminar, Office of the Georgia Capital
                ___ Defender, _July 6, _2006

               "Be Careful What Yc>u Wish For. .. " presented at the National Association of Medical Examiners Annual
                  Meeting, October 2005

               "Sudden Natural Deaths," presented at the Armed Forces Institute of Pathology Basic Forensic Pathology
                  Course, December 2, 1999

               "Subtle Child Abuse Fatalities" presented at the National Association of Medical Examiners Interim
                  Meeting, February 1997

               Teaching and lecturing for various audiences, including: physicians, graduate medical trainees and
                  medical students~nurses and physician assistants, law enforcement, prosecutors and defense •
                  attorneys, and interdisciplinary government panels, 1986 - Present. Topics include:
                  -    •   pec:lfafficfforensfcpathology(cfiffdabuse and neglect, suaa·enfnfantaeatn synaromeJ
---------•-death-ir:westigatior:i-ar:ic:Lcer:tificatio,.,____________________________
                       •   deaths in custody
                       •   sudden natural deaths
                       •   mistakes in homicide investigations
                       •   courtroom testimony and procedures

               Publications

               Dror I, Melinek J, Arden JL, et al., Cognitive Bias in Forensic Pathology Decisions. Journal of Forensic
               Sciences. https://doi.orq/10.1111/1556-4029.14697, 2021

               Arden JL. Letter from the Guest Editor. Academic Forensic Pathology 6(1 ):x-xi, March 2016

              - Shuangshoti S, Hjardemaaf GM, .Ahmad Y, Arden--JL- and Herman MM. Concurrence of ·muitiple ·sclerosis
                and glioblastoma multiforme. Clin. Neuropath. 22:304-8, 2003.    •                      •       ••    •                   ---

                Borio L, Frank D, Mani V, Chiriboga C, Pollanen M, Ripple M, Ali S, DiAngelo C, Lee J, Arden J, Titus J,
                Fowler D, O'Toole T, Masur H, Bartlett J, lnglesby T. Death due to bioterrorism-related inhalational
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Curriculum vitae of Jonathan L. Arden, MD                                               January 2025


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                   Estate of Adelyn Gauthier v. IHC Health Services, Inc., et
                   al:-fFhird-JtJdicial-E>istrict-eotirt;--Salt--1:ake-eo:;-l:FF;-No:---
          1/7/2021 180905554) . -- -                                                                    X                            - X                 X
        1/21/2021 US v. SOC T.ony Dedolph (USN Court Martial) .                               X                X                                                 X
                                                                                                                                                             ·--·----
                  'vrcl<nairv.Plafsancen1nt1-stTarrmranyPansli-Hospital-
                  (22nd Judicial District Court for the Parish of St.
        1/26/2021 Tammany, Louisiana, Number 2017--15337)                                               X                               X                X
                  Starling v Ohio Department of Disabilities (No. 2019--
        3/16/2021 00747JD)                                                                              X      X                                         X
               VA v. Demetrius Roots, Jr. (Chesterfield Co. Circuit Court,
- - -41212021- No:-CR20F01-587)-                                                           ---x- - - - - - -x-- - - - · - · -   ·-------- - · - - -          -----x

                  Debra Kirkland (Estate of Betty Steward) v. Durham Ridge
                  Assisted Living LLC, et al.(Superior Court, Durham Co.,
        4/15/2021 NC, No. 20 CVS 1742)                                                                  X                               X                X
                  Eureda Johnson (Estate of Eva Washington) v. Durham
                  Ridge Assisted Living LLC, et al. (Superior Court, Durham
        4/19/2021 Co., NC, No. 20 CVS 2815)                                                             X                               X                X
                  Tyrone Hood v. City of Chicago, et al (United States
                  District Court for the Northern District of Illinois, Civil
        5/13/2021 Action No. 16 CV 1970)                                                                X                               X                X
                  Sperling v. Clark Rifles (Superior Court of the State of
                  Washington in and for the County of Clark, No. 16--2--
        5/25/2021 02431-2)                                                                              X                               X                X

                   MD v Steven Nathaniel David (Circuit Court of Maryland
          6/2/2021 for Anne Arundel County, Case No: C-02-CR-19-002418)                        X                X                                                X
                   Anthony Nicholas Marks v. State of Maryland, et al.
                   (Circuit Court for Montgomery County, MD, Civil No.
          6/9/2021 481685-V)                                                                            X                               X                X
                   MD-v Andrew Michael Jones (Circuit Court for Harford ---
         6/16/2021 County, Case No. C-12-CR-19-000598)                                         X          X                                                      X
                                                                                                     ·-- - - ·---                                            -·--

                   FL v Charles Williams Deas, Ill (Circuit Court for the
                   Fourth Judicial Circuit, in and for Duval County, FL, S.A.
         6/17/2021 Case No. 18CF056955AD, Clerk No: 162018CF010254A)                           X                                        X                        X
                   FL v Justin Allen Ruggiero (Circuit Court of the Eighteenth
                   Judicial Circuit, in and for Seminold County, FL, Case No:
         6/25/2021 592017CF001905AXXXXX)                                                       X                         X                                       X
                   Altman v. Sentara Healthcare (Circuit Court for the City of
         6/29/2021 Virginia Beach, VA, At Las No: CL 19-1808)                                           X                               X                X
                   Al. v. Jeffrey Martinson (Maricopa Co. Superior Court, No.
          7/9/2021 CR 2004-124662-001-SE)                                                      X                         X                                       X
                   ME v. Gage Dalphonse (Androscoggin Superior Court,
         7/13/2021 No. ANDCD-CR-19-2321)                                                       X                         X                                       X
                    CO v. Brandi Leclaire (Jefferson Co.District Court, No. -
      . __7/28/2021 201~ _CR 4676) __________ .. ___________________ -··-· _                   X              _X                                                 X
                   Estate of Rose Crnjak v. Lake Hospital System, et al
                   (Court of Common Pleas, Cuyahoga County, OH, Case
         8/31/2021 No. CV 20 932285)                                                                    X                               X                X
                   NJ v. Tiray Summers (Union Co. Superior Court, No. 18-
         9/21/2021 j 1-0069j) :·::....·=_:=                                                                                                                      X
                   Moussavi, et al v. Community Support Services, Inc
                   (Circuit Court for Montgomery County, MD, Case No.
         11/3/2021 453754-V)                                                                            X                               X                X




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                    Kevin Quintanilla (Estate of William Antonio Quintanilla) v.
                    Atlanti.c-'.Naste....Disposal.-ln.c..,-elaL{CircuiLCourt,.J::iearico..
         11/18/2021 Co., VA, No. CL 19003058-00)                                                     X                      X                   X
                    Shelby Wilson.(Estate of Mar!< Wilson), et al., v. QUl")sta11
              - -- -·-- - -
                    Trucking, LLC 1 and Todd William Dunstan (District Court,                       - - ---
         11/19/2021 Jefferson Co., KS, No. 2020-CV-000008)                                           X                      X            X
                     Alexandrew Orellana (for Jose Orellana, deceased) v:
                     County of Riverside, et al. (US District Court, Central
          12/17/2021 District of California, No. 5:19-CV-01263-JGB-SHKx)                             X                      X                   X
                     VT v. Tyler Pollender-Savery (Windsor Co. Superior
          12/28/2021 Court, No. 1233-12-18 Wrcr)                                              X                             X                   X
                      Estate of- Jennifer:. M.Dyer-v..-12enobscot-County-Jail,--
                      MedPro Associates, et al. (State of Maine, Penobscot
             1/6/2022 Superior Court, Docket NO. BANSC-CV-2020-36)                                   X                      X                   X
                      Romeo (Estate of Harith Augustus) v. City of Chicago, et
                      al. (Circuit Court of Cook County, IL, Case No. 2018 L
             1/7/2022 012534)                                                                        X                      X            X
        ------·•      AR v. Cody Timothy Webb· (Circuit Court of Garland ..
                        --                                                                                            -   --- -- ---
            1/12/2022 County, AR, Case No. 26CR-21-887)                                       .x                 X                              X
                      Marc Grano (Estate of Ezamay Robison), et al. v. Sierra
                      Vista Hospital Auxiliary, Inc., et al. (Fourth Judicial District
            1/17/2022 Court, San Miguel Co.~ NM, No. D-412-CV-2019-00542)                            X                      X            X
                      Jennifer Pierce (Estate of Steven Pierce) v. Unity Health
                      Network, LLC, et al. (Summit Co., OH Court of Common
             2/1/2022 Pleas, No. CV-2020-04-1293)                                                    X                      X            X
                     , DE v. Cooke (Post-conviction; DE Superior Court No. 1: 15
             2/3/2022 CV-130)                                                                 X                  X                              X
                        Estate of Lori Ringgold v. University of Maryland St.
                        Joseph Medical Center, LLC, et al (Circuit Court for
          •• --2/7/2022 Baltimore County, MD, Case No.: C-03.:CV-21-00846)                           -x -                 --x -- -       ·x                - - - --- --   -·-



                        Commonwealth of Pennsylvania v. Lewis Nagy (County of
         -2/10/2022 TT6ga,No.-1A3··cK2020)            - •                                    -x-.   - - -x- - - - ·                           -x----
                      Nafisa-Hoodboy-~Estate-of-dawaid-Bhutto)--V:-The-Gity--
                      View Condominium and Joseph Holston (DC Superior
            2/25/2022 Court, No. 2021 CA 000108 B)                                                   X                      X            X
                      NY v. Kevin Holloway (NY Supreme Court, Westchester
             3/3/2022 Co., No. 19-0039)                                                       X             X                                   X
                      NY v. M. Robert Neulander (NY Supreme Court,
            3/10/2022 Onondaga Co., No. 2014-0635-1)                                          X             X                                   X
                      Shanaye Batey, et al., v. Washington Hospital Center
                      Corporation (District of Columbia, Superior Court, No.
            3/29/2022 2019 CA 006716 M                                                               X      X                            X

              4/5/202                                                                      X             X                                    X
                                       eogh (Superior Court, Somerset Co.,
         - 4/18/202                    o. 19-05-00288-1) -- - . - - - _ -                  X-·-          X                                    X
         - - - - - - · - _ a llli:L_ oussav1, et a , v. _ om_mumty _upport__ erv1ce~,_ - - - - - - - - -                -~------ - - - - ---- ----···- ----------
           4/19/2022 Inc. (Circuit Court, Montgomery Co, MD, No. 453754-V)                           X   X                          X
                        VA v. Matthew Allen Coglio (Circuit Court, City of Newport
           4/21/2022 News, Nos. CR21000477-01, 02, 03)                                     X             X                                    X
                         Timothy Rochell Caraway v. City of Pineville, et al. (US
                         District Court, Western District of North Carolina, No. 3:21
           4/25/2022 cv-00454-FDW-DSCf                                                               X                     X        X
                         Dennis Wiertella (Estate of Randy Wiertella) v. Lake Co.,
                         OH, et al. (US District Court, Northern District of Ohio, No.
- - - - --4/.26/2022 1-:20-cv-02739)                   ----------                      ------- ·--·X-- - - - - - - - · --X---·-- ----X- --------- - - - - - - - - - -




    .. ·---··-----•- .... 2. __ ·-· ----·- ---                                                                       ARDENFORENSICS __
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                   Sharon D. Love (Estate of Yeardly R. Love) v. George W.
                   l:luguel~~Cir.cuiLCouct,.Cit:¥--oLCbar.lottesvWe..-\LA,No_
         4/29/2022 CL:-2018-648) --                                                        X           X                                                       X
                   Angel Ellen Jyler, Administratrix_of the Estate of ~~eanna
                   Kristen Bum arner v. Ford Motor Com an er al. Circuit
                   Court of Kanawha County, WV, Civil Action No.: 18-C-
          5/5/2022 182)
                           -- ·-- ..
                                                                                                ··x   )(
                   AZ v Jeffrey Martinson (Superior Court of the State of
                   Arizona, County of Maricopa, CR2004-124662 001 / 1-CA-
         5/12/2022 CR-13-0895)                                                              X          X                                                       X
                        AZ v Jeffrey Martinson (Superior Court of the State of
                        Arizo□ a,...County..otMaricopa,_CR2004=..12.4662-00..t.L1.,,CA=
         5/23/2022 CR-13-0895)                                                              X          X                                                       X
                           Estate of Wangsheng Leng v. City if Issaquah, et al. (US
                           District Court for the Western District of Washington at
             6/2/2022 Seattle, Case No. 2:19-CV-00490-TSZ)                                       X     X                                     X
                           Ashley Henson Grim (Estate of Helen Carr) v. Northchase
        - ..   ---- - - ·- Nursing and Rehabilitation Center. et al. (New Hanover                                                                        -- _, -- - -   ·-    -- .   -   ··- -

             6/6/2022 Co., NC, Superior Court, No. 21 CV 405)                                    X                             X             X
                   SC v. Michael Gamble (Court of General Sessions for the
                   Fifth Judicial Circuit, County of Richland, Warrant No.:
                 .. -


         6/16/2022 2019A4010900058)                                                        ·x         -x                                                       X
                   Lashaunda Brown-Proctor (Estate of M.P .) v. Washington
                   Hospital Center Corporation (Washington, DC Superior
         6/24/2022 Court, No. 2020 CA 005111 M)                                                  X                             X             X

                   Estate of D'Londre Minifield v. City of Winchester, et al.
                   (US District Court for the Western District of Virginia,
         6/30/2022 Harrisonburg Division, Case No. 5:17-cv-0043)                                 X                             X                                X
                   VT.v Ronald Pritchard (Lamoille County, Docket #287-6-                                                                        ----   - --- -- -
          7/1/2022 19 Leer)                                                                 X                                  X                               X
               Estate of-Randall. c_.Wright v_ Bavaria Inn. Restaur.antr.lnc.
               (District Court, Arapahoe County, CO, Case No.:
- - -7/t3f2022 ·1-98-V3--24-1-8·                                                                 x-                            ;X--
                   Freddie Eugene Owens, et al. v. Brian P. Stirling and
                   South Carolina Department of Corrections, et al. (Court of
                   Common Pleas, County of Richland, SC, Case No. 2021-
         7/16/2022 CP-40-02306)                                                                  X                             X             X
                   FL v Charles Williams Deas, Ill (Circuit Court for the
                   Fourth Judicial Circuit, in and for Duval County, FL, S.A.
         7/21/2022 Case No. 18CF056955AD)                                                   X          X                                                        X
                    MS v. Anthony Fox (Hinds Co. Circuit Court, No. 20-0-
           8/1/2022 577)                                                                    X          X                                                        X
                             Freddie Eugene Owens, et al., v. Bryan P. Stirling, South
                             Carolina Department of Corrections, and Henry McMaster
                             (Court of Common Pleas, Richland Co., No. 2021-CP-40-
             8/3/2022 02306)                                                                     X     X -                                   X
        - - - - - - - - - --                                                                          - - - -- - - - - - --------------                 --·----
                             Alice Martin-(Estate ·of Michael Elam, -Jr:)-v:-Officer----                                                                                     ------------- -·


                    Bolanos and the City of Chicago (US District Court,
           8/9/2022 Northern District of Illinois, No. 19 CV 04130)                              X                             X             X
                   AR v. Cody Timothy Webb (Garland Co. Circuit Court, No.
         8/11/2022 26CR-21-887-I)                                                           X                    X                                              X
                   Estate of Martha. Mackey deMontpellierv. Jeremy
                   Carpenter and Chicamacomico Banks Fire Department,
                   Inc. (US District Court, Eastern District of North Carolina,
       _ 8/17/2022 No.-2:21 -:CV-:3-BO) ______                   ·--------- ----- - - - - . __ x __          --------   _____ x __ ___ x ____ -- ----- -------




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                     Estate of Grace Misowitz, et al., v. Angels Among Us ALF,
                     lneret-aqCii:cuit-Coui:t-of-Mapt.lanci-foi:...Baltimoi:a..County,
           8/18/2022 Case No. C-03-CV-21-001013)                                                            X                        . __ x              X_

                     _State of Vermont v. Samuel"Ortiz District Court Orleans
            9/9/2022 Unit, Criminal Division Docket No. 694-9-19 Oser)                              X                                      X                     X
                     NJ v Travis Flood (Middlesex County Superior Court,
           9/13/2022 Indictment No. 18-11-01521)                                                    X              X                                             X
                     Lisa A. Sukeena (Estate of Michael Raymond Sukeena,
                     Ill) v. Michael David Perez, MD, et al. (Circuit Court,
           9/16/2022 Prince William Co., VA, No. CL20-8478)                                                X                               X             X
                     Marvin Tinsley Raw, IV[cleceased). (Appeal, Boara of
                                                                                                          - - ---
                     Trustees, Emplopyees' Retirement System, Baltimore
           9/22/2022 Co., MD, No. 2017-02-R)                                                                X                              X             X
                     MD v. Tristan Thigpen (Prince George's Co. Circuit Court,
           9/28/2022 No. CT201016X)                                                                 X              X                                             X
         ·-----·- --·-   -- ----- - --- ---   --·------- -- --- -----   . - - - - - ·- ---                                  . ·---   - ·-------·---                  ··-   ·---   --------

                     Samantha Drover-Mundy and Zachary Mundy (Estate of
                     Lillian Mundy) v. Fisher-Price, Inc., Mattel, Inc. et al. (Los
         • 10/7/2022 Angeles Co., CA, Superior Court, No. 19STCV42341)                                     -X.                            -x             X
                     Vanessa Gillyard (Estate of Laverne McGhee) v.
                     Dimensions Health Corp., et al. Prince George's Co., MD,
          10/10/2022 Circuit Court, No. CAL21-04933)                                                        X                              X             X
                     AZ v. Bryan Miller (Maricopa County Superior Court, No.
          10/11/2022 CR20156-102066-001)                                                            X              X                                             X
                     Anne Langerak (Estate of William Garcia) v. Arundel
                     Lodge, Inc. (De Bene Esse Deposition; Circuit Court,
          10/17/2022 Anne Arundel Co., MD, No. C-02-CV-21-000047)                                           X                              X             X
                     Wayne K. Langford v. Riverside Physician Services, Inc.
                     and Ashley N. Smith, FNP-C (Circuit Court, City of
                                                                                                  - - - - - - - · - - ---·---
          10/18/2022 Newport News, VA, No. Cl2001159T-01)                                                  -X                              X             X
                     Vf-v-:-""Fyler-Pollender-Savery-~indsor-8a:-Superior--
          10/26/2022 Court, No. 1233-12-18 Wrcr)                                                    X              X                                             X
                     NJ v. Timothy Wright (Atlantic County Superior Court, No.
          10/28/2022 19-06-01274)                                                                   X              X                                             X


                     Veronica Baxter (Estate of Angelo J. Crooms) and Al-
                     Quan Pierce (Estate of Sincere Pierce) v. Evelyn Miranda
                     (Estate of Jafet Santiago Miranda) and Wayne Ivey,
                     Brevard Co. Sheriff (US District Court, Middle District of
           11/4/2022 Florida, No. 6:21-cv-00718-CEM-LHP)                                                    X                              X             X
                     Nanette R. Larose v. Suheil F. Abdulnur Montgomery Co.,
          11/17/2022 MD, Circuit Court, No. 483949-V)                                                       X                              X             X
                     VT v. Craig C. Jacobsen (Windham Co. Superior Court,
          11/22/2022 No: 20-CR-00321)
                                              ---- - ·- -
                                                                                                   ·x -     -
                                                                                                                                           X                     X
         ------                                                                                   ------ - - - -       - ---------   --------•-       --------       -- -·------ --- ------
                      Marcel Brown v. City of Chicago, et al. (US District Court,
             1/9/2023 Northern District of Illinois, No. 19-cv-4082)                                        X                              X             X
                      John McCarthy (Estate of Kristen McCarthy) v. The
                      Providence Center, Inc. (Providence, RI Superior Court,
          ..1/24/2023 No. PC-2017-0007) -                                                                   X                          - .X -            X

                     Tara Wright McGehee v: Vanessa H. Gregg; MD, et al.
           1/25/2023 Circuit Court, City of Charlottesville, VA, No. CL21-310)                              X                              X             X
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                  Cheryl Watson, et al. v. Lewis Primary Care PA, et al.
     -11--------(Wicomico-eo:-;-ME>-;-eirct1it-eourt,----No:-B=2-c-eV=-21=--1-------t---1f.-----1-----f---------11- - - - + - - - - - t - - - - - - - a
        1/26/2023 000076) - - - -                    . - -- - - .- - -.      X-                          -X            X
                  Miriam M-. Munoz, et al. v. Six Flags America LP,·etal. •
                   1
     •-----       (Circuiteourr,Prince-<3eorge's-Co:-;-Ml:l;-Ncr.CAL:--zt=--
        1/27/2023 02107)                                                                      --X                              X      X -....
                  Estate of Rose Cmjak v. Lake Hospital Systems, Inc., et
                  al. (Cuyahoga Co, OH, Court of Common Pleas, No. CV
         2/3/2023 20 932285)                                                                   X      X                               X
                 Melissa B. Knibbs (Estate of Michael Scott Knibbs) v.
      _ _ _ _ ,Anthony Mom hard, Jr., et al. US District Court, Western
        2/8/2023 District of North Carolina, No. 1: 19-cv-130)                                 X      X                               X
                  MA v. Kurvin Richardson (Suffolk Co. Superior Court, No.
        2/22/2023 2005-10676)                                                             X                 X                                   X
                   MA v. Frederick Pinney (District Court, Hampden Co., MA,
          3/2/2023 No. 1423CR002123)                                                      X           X                                         X
                                                                                                          ----- . - . ·-·--·                            -   --- ·- ----- - .
       ·- • - ·- - • JOhrt·Aaney ·c1::state ot {:yne·n L Hauey~ sr.)-v.-•Meastar •··-·-
                  Georgetown Medical Center, Inc., et al. (Superior Court,
        3/21/2023 District of Columbia, No. 2021 CA 002691 M)                                  X                               X       X
                  FL v. Randy Seal (Circuit Court, Putnam Co.,FL, No; 2004
        3/29/2023 1683-CF)                                                                X                                    X                X
                  Tara Wright McGehee (Estate of Simon McGehee) v.
                  Vanessa H. Gregg, MD, et al. (Circuit Court, City of
        4/25/2023 Charlottesville, VA, No. CL21-310)                                           X      X                                X
                   FL v. Randy Seal (Circuit Court, Putnam Co.,FL, No. 2004
          5/1/2023 1683-CF)                                                               X                  X                                   X
                Estate of Martha Mackey deMontpellier v. Jeremy
                Carpenter arid Chicamacomico Banks Hre· Department, - -
                Inc. (US District Court, Eastern District of North Carolina,
      -51212023 No:-2:2t::cv-:3:.BO)-                                                                                               ·-x-------


     .__ _ ____.JennifeC-.Eier:ce...(Estate...ot..SteveCl..-Eier:ce)_v_Unity_l:lealtL1----1---1f-----f-----f-----11-----+-----t-------a
                 Network, LLC, et al. (Summit Co., OH Court of Common
        5/4/2023 Pleas, No. CV-2020-04-1293)                          X     X                            X
                  Ulys Pruitt and Crystal Pruitt (Estate of Preston Pruitt) v.
                  Fisher-Price, Inc., et al. (Los Angeles Co., CA, Superior
        6/15/2023 Court, No. 20STCV00315)                                                      X                               X       X
                  Romeo (Estate of Harith Augustus) v. City of Chicago, et
                  al. (Circuit Court of Cook County, IL, Case No. 2018 L
        6/30/2023 012534)                                                                      X      X                                X
                  VA v. Vincent M. McClean (Circuit Court, City of
        7/13/2023 Portsmouth, VA, No. CR23000082)                                         X           X                                                            X
                    Arfhy Santos v. The United States of America, SA William
                    Sheehan, Individually, (US District Court, Southern District
        ··a11s12023 of NY, No. 21 cv·aoos (PMH))                • -- -- ·- - --                X                               X                X ---


                  Laquana Ross (Estate of Joel Marrable), et al., v. Rollins,
        10/3/2023 Inc. and Orkin, Inc. (Dekalb Co., GA, No. 22A02694)                          X                               X                 X
                  In the Interest of H.F.J., a Child (District Court, 261st
                  Judicial District, Travis County, TX, Cause Nos. D-:1-FM-
      ·10/24/2023 22~002444 amcfD~1-FM-22~006451 f                                             X             X                         X

                  Commonwealth of VA v. Shyan J. Csatlos (Circuit Court of
-- --- -11/1/2023 the-City-ofVirginia Beach,Docket #CR20-001447)------ ----X --- ------- ----x-- • --- -- ----- -                   ------- ----x--- -- -----------




               __ 5 -----------•-··---·-·---                                                        _______________ _ARDENFORENSICS
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                  AR v. Cody Timothy Webb (Garland Co. Circuit Court, No.
- - -4-·1.L2t2023 2 6 G B . : 2 . . 1 . : : B a U . J - - - - - - - - - - - - - - - - t - - - - , l l , - - - - t - - - - - 1 1 - - - t - - A - - - t - - - - - - 1 - - - - 1 - - - A - - - t - - - - - - - t - - -
          - -- . - - - Debra Jones, et al. v. United States (US Court of Federal
          .11/9/2023 Claims, No. 13-227L)                                                                        X        X                                       X


                    Richard Nordan; Esq. (Administrator, Estate of Eric Avila
                    Cruz) v. Michael Carson, et al. (US District Court, Eastern
         12/15/2023 District of North Carolina, No. 5:22-CT-03207-D)                                             X                                 X              X
              Irving W. Walker (Personal Representative of the Estate
              of William K. Schapiro), et al., v. Victor Ferrans, MD, LLC,
              et al. (Circuit Court for Baltimore County, MD, Case No. C-
- - 112212024 03:-cv:22:0031a1J                                                                                                            --x----x-
                     Estate of Kayla Crews v. The Esate of Theopolis 0.
                     Owens, Genoa City, et al. (Circuit Court, Lake Co., IL, No.
           1/23/2024 22 LA 392)                                                                                  X                                 X              X
                    Ml v. Hunter Locke-Hughes (Macomb Co. Circuit Court,
         - 2/1/2024 No_22-2116-FC) _ ... __________ ----· ______ .... ··-··· ---X--.                           ____ X _

                     Estate of Casey MacAdam v. OhioHealth Corp., et al.
                     (Court of Common Pleas, Franklin Co., OH, No. 21 CV
         • 2/15/2024 3369)                ·-            •                                                        X                                 x·             x
                     AZ v. Shawn M. Main (Pinal Co. Superior Court, No.
           2/28/2024 CR2015-03954)                                                                    X                   X                                                     X
                     John Curry (Estate of Joseph A. Curry) v. Rumpke
                     Transportation Co LLC, et al. (Jefferson KY Circuit Court,
            3/5/2024 No. 22-Cl-003235)                                                                           X                                 X              X
                      Vicknair v. Plaisance and St. Tammany Parish Hospital
                      (22nd Judicial District Court for the Parish of St.
             3/6/2024 Tammany, Louisiana, Number 2017-15337)                                                     X                                 X              X
                      Lynn Branscome (Estate of Megan Branscome), et al., v.
         --'----'---■ Richard Reaven,.. MD,__et_al._(Carr_oll_County ,_MD.Circuit __
            3/7/2024 Court, No. C-06-CV-23-000193) :                                                             X                                 X                            X


                     Adrien Padovani (Estate of Niko Padovani) v. Fisher-
                     Price, Inc., et al., (Superior Court, County of Los Angeles,
                     CA, No. 19STCV42307) and Candice Ezell (Estate of
                     Constantine Ezell) v. Fisher-Price, Inc.,, et al. (Superior
           3/11/2024 Court, County of Los Angeles, CA, No. 19STCV42310)                                          X                                 X              X
                     Laurita Pullman (Estate of John Steele, Ill v. Washington
                     Metropolitan Area Transit Authority, US District Court,
           3/22/2024 District of Maryland, No. DKC 22-1304)                                                      X                                 X              X
                     PA v. Orlando Williams (Allegheny Co., PA, No. CP-02-
           3/28/2024 CR-0009866-2016)                                                                 X                             X                                           X
                     Estate of Megan Branscome, et al., v. Richard Reaven,
                     MD, et al. (Circuit Court for Carroll County, MD, Case No.
            4/8/2024 C-06-Cv.:23-000193)         •--· ---- - - - - -                                             X

                     Commonwealth of VA v. Wesley Herbal (Circuit Court for
           4/10/2024 Virginia Beach, VA, Case #CR23000353-00)                                         X                   X                                                     X
                     Commonwealth of VA v. Vincent McDonald Mcclean
            5/1/2024 (Portmouth Circuit Court, Case No. CR23000286)                                   X                   X                                                                     X
                                                                  v.
                       Estate of Kenneth Lashon Tucker Greenville County, et
                       al. (US District Court for the District of South Carolina,
            5/3/2024 Case No.: 2:22-cf-2389-JDA-MGB)                                                             X                                 X              X
------- ---_--·· _____ Hays_v_ P.iedmont.et.al.~,.(~uperior. Court of_ Newton __ _
           5/20/2024 County, GA, Civil Action No. SUCV2020000284)                                                X                                 X                            X




                                                                                                                                          .ARDENFORENSICS ____ _
                 Case 1:21-cv-02170-ACR                              Document 93-13          Filed 05/26/25   Page 20 of 21




          State of Florida v. Yvonne Serrano (Circuit Court,
          Sever:iteer:itl+.Judicial--Cir:cuitrl1+-ar:id-for:-Br.oward-Cour:ttYr-
5/24/2024 FL, Case No.:_23006?42CF10A)                                              _X                   X             _X
           State of florida v._Yvonne Serrano (Circuit 99urt,
           Seventeenth Judicial Circuit In and for Broward County, _
  6/5/2024 FL, Case No.: 23006242CF10A)                                             X        X                         X
          Gianquitti v. RI (Providence Superior Court, Post-
6/26/2024 Conviction, No. PM-2018-7370)                                                  X        X              X

           In re Arbitration of the Estate of Thelma Wray v. North
  7/8/2024 Point Partners, LLC, d/b/a North Pointe of Asheboro, NC                       X               X       X
           Riemer-v.-Bayside-Homes-Delaware-LLC-(C.A.-No.-S20C~
  8/7/2024 09-014 RHR)                                                                   X               X       X

           Estate of Dennis Zabel v. Dr. Michael Gartner and Mayo
           Clinic System, Mankato (State of MN, District Court for the
 8/13/2024 County of Blue Earth, Court File No.: 07-CV-20-3440)                          X               X       X
           Marcel- Brown v. City of Chicago, et al. (US-District Court,
 8/27/2024 Northern District of Illinois, No. 19-cv-4082)                                X   X                   X

           State of Georgia v. Melody Walker Farris (Superior Court -
10/29/2024 of Cherokee County, lndictmenfNo.: 24CR0715) -                           X        X                          X
           Estate of Aida Norma Gutierrez v. St. Teresa of Avila
           Church (US District Court, Southern District of NY, Index
10/30/2024 No. 22CIV.2211(VB))                                                           X               X       X

           State of Florida v. Demorris Andy Hunter (Circuit Court of
           the Ninth Judicial Circuit of Florida, In and For Orange
 11/5/2024 County, FL, Case No.: 2002-CF-006796-A-O)                                 X            X                     X
           State of Arizona v. James Patillo (Pinal County, No.: - -
11/13/2024 CR2020-02307)                                                            X         X                         X
                                                                                   ---- ---- - - ----
           Karen Spicknall (Estate of William T. Spicknall) and Kaylin
           Spicknall v. Beroske Farms and Greenhouse, Inc., et al.
11/26/2024 (US District Court, District of Maryland, No. T JS-24-829)                    X               X              X
           AZ v. Michael Aguilar (Pima Co. Superior Court, No. CR-
 12/6/2024 2022-1602-001)                                                            X       X                          X
           Joseph Distefano, et al. v. Karl McIntosh MD, et al.
  1/7/2025 (Superior Court, Delaware, No. N21 C-06-233 FJJ)                              X               X       X
           FL v. Demorris Andy Hunter (Orange Co. Circuit Court,
 1/27/2025 No. 49-2002-CF-6796-A-O)                                                  X                   X              X




                                                                                                      __ ARDENFORENSICS
                        Case 1:21-cv-02170-ACR                         Document 93-13                 Filed 05/26/25              Page 21 of 21




                     333 Las OlasWay#1104                                                                                   Jonathan L. Arden, MD
                     Ft Lauderdale, FL 33301                                                                                                 President
                     703.749.0227 Office
                     703.563.6059 Fax
                     jlardenmd@ardenforensics com
                   - www ardenforensjcs com    •-
                                                                    2024 FEE SCHEDULE
              Cons ultatioris                                              - $650.00/Hour
                 •     Review of documents, photographs or other materials
                 •     Examinations of slides, radiographs or tissue
                 •    Writing reports, correspondence and emails
                 •     Meetings, conferences and telephone contacts
----------""•-_._itecatu[e..a□clrnedical[esea[cLL------------------------------
                 •     Preparation for trial or deposition testimony

                     Local or Video Depositions and Meetings                                                            $650.00/Hour
                         •   All depositions subject to a minimum charge of two (2) hours, payable in advance
                         •   Payment due at least seven (7) calendar days prior to scheduled deposition
                        -• _ Non-refundable if deposition is cancelled within five (5) calendar days of scheduled deposition date.

                     Local Travel                                                                                        $325.00/Hour + Mileage
                         •    Up to 250 miles from Fort Lauderdale, FL area
                       - • - -Mileage billed at IRS 2024 standard rate of 67 cents/mile

                     Out-of-Town Meetings                                                                             $5,000.00/Day + Expenses
                         •   Greater than 250 miles from Fort Lauderdale, FL area

                           Out-of-Town Depositions                                                                           $6 1500/Day + Expenses
                                •        In-person depositions greater than 250 miles from Fort Lauderdale, FL
                                •        $1,300.00 payable in advance, subject to same terms as local depositions (above)
                                • - - - -Travel   time included
                                          ---•----·---·-----          . - - · · - - - - - - ---·- - - - - - --------·-·-----
                                •        Depositions requiring an overnight stay will be charged an additional $650. 00
----------•----'--C--'--=-'-an'-"-c-'-e'-"-ll_a-=-tion of q~positions within five @ calenqfil__g_§y·s of confirmed _§3.Q0_~gl_§_sl..§tEL~!b..q!Jtie_~.b~f!~!lDg) _____________ _
                                         will be charged a cancellation fee of $2,600.00, plus any expenses incurred in anticipation of a cancelled
_ _ _ _ _ _ _ _ _ _, d e p o s i t i o r . 1 - a p p e a r . a r : i c e - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                     ln-Person Trials                                                                       $6,500/Day + Expenses
                         •   Trial Testimony
                         •   Trial appearances requiring an overnight stay for travel or meetings will be charged an additional $650.00
                         •   Non-testimonial trial days (observation/trial support, meetings) charged at Out-of-Town Meetings rate of
                             $5,000.00/Day plus expenses
                         •   Cancellation of court appearances within one (1) calendar week of confirmed schedule date (without
                             rescheduling) will be charged a cancellation fee of $2,600.00, plus any expenses incurred in anticipation of a
                             scheduled trial appearance.

                     Video Trials (Flat Fee)                                                                                                 $4,000.00

                  Notes I Further Terms and Conditions
                      •     This is the Arden Forensics 2024 standard fee schedule; individual contract terms may vary.
------------- - - •--New cases will remain-on the-same fee schedule-for a minimum of-12-months of contract date, after which --- -------- --
                            the rate may change to the Arden Forensics then-current rate.
                      •     A $2,000.00 non-refundable retainer is required to initiate consultation.
                      •     Minimum billing increment is 0.25 hours.
                      •     Expenses are billed in addition to consultation fees.
                      • "-- Fees and expenses may be billed monthly for ongoing matters;
                      •     Payment is due 30 days from Invoice Date. Late payments are subject to interest charges.
                      • •• All air· a·nd raff travel will be· bookeiff by°Arden ·Forensics at the. cornmercially availatile rate, consistent with
                   ___D_r_._Arden's availability and location, and shall be in the form of fully refundable tickets. Trips consisting of a ______________
                            total traveltime (including layovers) of greater than or equal to seven (7) hours, or total flight time of greater
---------~,han....oLequaLtoJtV.e_(5)_hours_shall_be.. booked_albusi □ess_or_first.class.Ja[e _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                      •     Requests for services with a return date in fewer than five (5) business days may, at the discretion of Dr.
                            Arden, be subject to a fee surcharge.
